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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,
                                                     Case No. 3:23-cv-03417-VC
        Individual and Representative Plaintiffs,

   v.                                                PLAINTIFFS’ STATEMENT OF
                                                     SUPPLEMENTAL AUTHORITY
META PLATFORMS, INC.,

                                     Defendant.




                                        PLAINTIFFS’ STATEMENT OF SUPPLEMENTAL AUTHORITY
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         Pursuant to Civil Local Rule 7-3(d)(2), Plaintiffs respectfully submit this Statement of

Supplemental Authority concerning the parties’ motions for partial summary judgment. On May

9, 2025, the United States Copyright Office released Part 3 of its Report on Copyright and Artificial

Intelligence, titled “Generative AI Training” (the “Report”). 1 The Report addresses several key

issues discussed in the parties’ respective motions regarding the use of copyrighted works in the

development of generative AI systems and application of the fair use doctrine. See Fox Television

Stations, Inc v. Aereokiller, LLC, 851 F.3d 1002, 1013 (9th Cir. 2017) (“it is clear the Copyright

Office is entitled to at least Skidmore deference”). A copy of the Report is attached as Exhibit A.



                                                     By: /s/ Maxwell V. Pritt
                                                             Maxwell V. Pritt

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1
 The Report is designated “a pre-publication version” but also provides that the “final version
will be published in the near future, without any substantive changes expected in the analysis or
conclusions.”


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